                  Law Office of
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                                            July 1, 2015



Via ECF and U.S. Mail

Hon. Sterling Johnson, Jr.
United District Court Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

    RE: U.S. v. Adamou Djibo, 15-CR-88 (SJ)

Dear Judge Johnson:

  This office represents the defendant Adamou Djibo in the
above-captioned case, which is scheduled for trial
beginning on July 13, 2015. Mr. Djibo hereby moves for an
order suppressing:

  (1)     All statements made by him during the course of
          his arrest, including his statement identifying
          the password to his iPhone; and

  (2)     All property seized from him during the course of
          his arrest, including but not limited to data
          retrieved from his iPhone pursuant to a subsequent
          search warrant.

  In brief, this material is subject to suppression because
(1) both the statements and the property are the fruit of a
warrantless arrest without probable cause; (2) the
statements violated the Miranda rule because they were
taken before Mr. Djibo was advised of his rights; and (3)



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the data on the devices is fruit of the poisonous tree
because it could not have been accessed without information
contained in Mr. Djibo’s involuntary statements, i.e. the
passwords that Mr. Djibo was forced to provide while he was
in custody. In the event suppression is not summarily
granted, we request an evidentiary hearing on these motions
and, if necessary, a brief adjournment of the trial in
order to obtain expedited transcripts and submit further
legal argument.

  In support of these motions, attached hereto please find
the following exhibits:

  (1)      A Report of Investigation describing Mr. Djibo’s
           alleged statements to law enforcement and the
           circumstances of his arrest (hereinafter “ROI”),
           Ex. A;

  (2)      An affidavit executed by Mr. Djibo describing the
           circumstances of his arrest and the seizure of his
           electronic devices, Ex. B; and

  (3)      An affidavit filed in support of a warrant to
           search Mr. Djibo’s electronic devices, Ex. C.

  The factual and legal basis for the motions is set forth
in further detail below.

                             Facts

  The Airport Arrest. Adamou Djibo was arrested without a
warrant by agents from the Department of Homeland Security
(“DHS”) as he was boarding a plane to London on February 3,
2015. The basis for the arrest was set forth in a Complaint
dated the following day by Special Agent Thomas E. Wilbert.
See Dkt. No. 1. In the Complaint, Agent Wilbert alleged
that an unnamed co-conspirator who was caught entering the
United States with heroin claimed in a post-arrest
statement that Mr. Djibo was his accomplice in the drug
importation. See Compl. at 2-4. There is no indication that
the alleged co-conspirator had ever provided reliable




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information before or that he made any accusation against
Mr. Djibo other than immediately following his own arrest.
However, according to the complaint, coded electronic
communications between the alleged co-conspirator and Mr.
Djibo were found on the alleged co-conspirator’s mobile
telephone. Compl. at 3-5.

  Agents questioned Mr. Djibo at the time of the arrest but
prior to reading him Miranda warnings. Although the
government has provided only a redacted version of the
Report of Investigation, Ex. A,1 according to Mr. Djibo the
arrest took place as he was boarding an international
flight at JFK Airport. Ex. B ¶ 4. After removing him to a
separate room, agents questioned him about his telephone
numbers and passwords. See Ex. A at 1; Ex. B at 4. They
also strip-searched him. The government appears to concede
that Mr. Djibo “was advised of his constitutional rights,”
only after he was required to divulge his passwords. Ex. A
at 2.

  The Prosecution. A six-page complaint was filed the
following day and Mr. Djibo was arraigned before Magistrate
Judge Vera M. Scanlon. At arraignment, Mr. Djibo waived his
right to a preliminary hearing. See Dkt. No. 2 (minute
entry for preliminary hearing).

  On March 5, 2015, the government filed a four-count
indictment alleging conspiracy to import and possess with
intent to distribute one kilogram or more of heroin from
September 2, 2014 until January 11, 2015 and substantive
importation and possession of heroin on January 11, 2015,
the day the alleged co-conspirator was caught. Dkt. No. 6:
Indictment. Each of the four counts of the indictment
carries a mandatory minimum of ten years imprisonment.

  The Ongoing Investigation. On March 3, 2015, the
government filed applications for two search warrants: one
for Mr. Djibo’s emails and one for the devices seized when

1
  I have repeatedly asked the government for an unredacted version of
this document but so far have received no response.




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he was arrested. See Ex. C (affidavit in support of search
warrant for the electronic devices).2 Both search warrants
were signed by the Hon. Ramon E. Reyes, Jr. that same day.
According to documents disclosed in discovery, a forensic
examination of one of the phones seized was conducted on
March 12, 2015. This examination created an “Extraction
Report,” which revealed, the government maintains,
incriminating communications between Mr. Djibo and the co-
conspirator.

                               Argument

    1. MR. DJIBO’S STATEMENTS AND PROPERTY SHOULD BE
       SUPPRESSED BECAUSE THERE WAS NO PROBABLE CAUSE FOR THE
       WARRANTLESS ARREST

  Mr. Djibo moves to suppress his statements and all
property seized from him on the ground that they were the
fruits of a warrantless arrest without probable cause. See,
e.g., U.S. v. Crews, 445 U.S. 463, 470 (1980) (exclusion
applies to tangible material and statement obtained through
an illegal search or detention). It is undisputed that Mr.
Djibo was doing nothing illegal when he was taken from the
boarding area and arrested. It is also undisputed that no
arrest warrant or indictment had issued at the time of Mr.
Djibo’s arrest. We generally dispute the self-serving,
post-arrest allegations of the co-conspirator that Mr.
Djibo was involved in criminal activity with him. The
Complaint offers nothing to support that the statements are
reliable. The supposed corroboration on the co-
conspirator’s cell phone does nothing to explain how the
agents knew that the person they were arresting (i.e. Mr.
Djibo) was the same person that the co-conspirator
communicated with.

  Accordingly, the facts giving rise to probable cause are
in dispute. In order to offer the investigative fruits of
the arrest in evidence, the government has the burden of

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  We do not challenge the validity of the search of Mr. Djibo’s emails,
which, the government contends, also contain incriminating evidence.




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showing that the arrest was lawful at an evidentiary
hearing. See U.S. v. Pena, 961 F.2d 333, 338-39 (2d Cir.
1992), quoting, U.S. v. Rivera, 321 F.2d 704, 706 n. 1 (2d
Cir. 1963) (“[O]n a motion to suppress on the ground of
illegal arrest without a warrant the burden is on the
Government to show that there was probable cause for the
arrest.”).

  2. MR. DJIBO’S PRE-MIRANDA STATEMENTS SHOULD BE
     SUPPRESSED

  Under Miranda v. Arizona, 384 U.S. 436, 444 (1966),
warnings are required prior to the interrogation of a
suspect who is in custody. Custodial interrogation means
“questioning initiated by law enforcement officers after a
person has been taken into custody or otherwise deprived of
his freedom of action in any significant way.” Id. In order
to determine whether a person is in custody for purposes of
Miranda, “[t]he proper inquiry is [] whether a reasonable
person in [the defendant’s shoes] would have felt free to
leave under the circumstances.” U.S. v. Ali, 68 F.3d 1468,
1472-73 (2d Cir. 1995).

  In this case, Mr. Djibo was restrained when the agents
questioned him. He was about to board a plane and forced to
miss his expensive overseas flight. He was surrounded by
plain-clothes investigative officers and removed from the
boarding area. He was restrained in a small room, strip-
searched and, ultimately, arrested. See Ex. B. Thus any
interrogation required Miranda warnings. Id. (remanding
denial of suppression motion where defendant was “asked to
step away from the boarding area, his travel documents were
removed, and he was surrounded by seven officers with
visible handguns”).

  At the same time, the agents’ demand for Mr. Djibo’s
passwords constituted interrogation and violated his Fifth
Amendment privilege against self-incrimination. See U.S. v.
Rogozin, 2010 WL 4628520 at *6 (suppressing incriminating
statements made during border search without Miranda
warnings, including a statement as to the password to a




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device). A grand jury cannot lawfully compel a defendant to
reveal a password, because doing so would violate the Fifth
Amendment. See, e.g., In re Grand Jury Subpoena Duces Tecum
Dated March 25, 2011, 670 F.3d 1335 (11th Cir. 2012).
“Forcing [a defendant] to reveal the password for the
computer communicates the factual assertion to the
government, and thus, is testimonial—it requires [the
defendant] to communicate ‘knowledge’ unlike the production
of a handwriting sample or voice exemplar[.]” U.S. v.
Kirschner, 823 F.Supp.2d 665, 669 (E.D. Mich. 2010)
(quashing subpoena requiring password because compelling
defendant to divulge password would violate the Fifth
Amendment); see also Winkler, Andrew T., “Password
Protection and Self-Incrimination: Applying the Fifth
Amendment Privilege in the Technological Era,” 39 Rutgers
Computer & Tech. L.J. 194 (arguing that compelling an
individual to enter or reveal a password in order to obtain
incriminating evidence violates the Fifth Amendment). Thus
the Fifth Amendment and the Miranda rule prevented the
agents from doing what they did here: forcing a suspect to
reveal his passwords.

  To the extent the government disagrees, an evidentiary
hearing should be held. See, e.g., U.S. v. Pena, 961 F.2d
333, 338-339 (2d Cir. 1992) (hearing required if moving
papers are sufficiently definite, specific, detailed, and
non-conjectural).

    3. DATA FROM MR. DJIBO’S ELECTRONIC DEVICES SHOULD BE
       SUPPRESSED AS FRUIT OF THE POISONOUS TREE

  Agents were able to execute the search of Mr. Djibo’s
iPhone and iPad only because he provided them with
passwords that made the searches possible.3 Using the

3
  According to the forensic report provided in discovery, the iPhone was
an iPhone 5 running iOS 8.1.2. See AD00450 iPhone Extraction Report at
1. This version of iOS offers encryption that the government cannot
break without the owner’s password. See https://www.fbi.gov/news/
speeches/going-dark-are-technology-privacy-and-public-safety-on-a-
collision-course. See also Riley v. California, 134 S.Ct. 2473, 2486
(2014) (United States, as amicus, argues that encryption renders cell




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passwords that Mr. Djibo provided while he was detained,
the government was able to obtain incriminating evidence on
his iPhone. But, as Mr. Djibo states in his affidavit, he
was forced to provide the iPhone password. Because his
custodial statement providing his password to the agents
was involuntary, it violated the Fifth Amendment. “[T]hose
subjected to coercive police interrogations have an
automatic protection from the use of their involuntary
statements (or evidence derived from their statements) in
any subsequent criminal trial.” U.S. v. Patane, 542 U.S.
630, 640 (2004). Accordingly, all evidence derived from the
passords—including the evidence found on Mr. Djibo’s
iPhone-must be suppressed. See also Wong Sun v. U.S., 371
U.S. 471, 486 (1963) (suppressing, inter alia, drugs found
as a result of statements derived from an unlawful search).4




phone “all but ‘unbreakable’ unless police know the password”). To the
extent the government disagrees with this assertion, we would request
an opportunity to present expert witnesses at the evidentiary hearing
to support it.
4
  The government may argue that physical evidence derived from a mere
Miranda violation is not subject to the Wong Sun fruit-of-the-poisonous
tree rule. See U.S. v. Patane, 542 U.S. 630 (2004). We disagree with
this contention with respect to electronic device passwords, as the
Wong Sun rationale, deterrence of police misconduct, is well-served by
suppression in this context; otherwise, officials could, as here, take
advantage of a defendant’s ignorance of his right not to answer their
questions when their real object is access to his private devices. See
Riley v California, 134 S.Ct. 2473, 2489-91 (2014) (“a cell phone
search would typically expose to the government far more than the most
exhaustive search of a house: A phone not only contains in digital form
many sensitive records previously found in the home; it also contains a
broad array of private information never found in a home in any form—
unless the phone is.”). In any event, though, our claim on this motion
is that the data on the iPhone was the fruit not only of a Miranda
violation but also of a coerced, involuntary statement in violation of
the Fifth Amendment itself. The fact that as soon as Mr. Djibo learned
of his right to remain silent he invoked that right further supports
his assertion that he turned over his passwords involuntarily.




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                         Conclusion

  For the reasons set forth above, Mr. Djibo’s motions to
suppress should be GRANTED or an evidentiary hearing should
be held in advance of the trial, with a brief adjournment
to obtain transcripts and make legal arguments, if
necessary.

  Thank you for your attention to this case.

                                  Very truly yours,
                                  Zachary Margulis-Ohnuma
                                  Zachary Margulis-Ohnuma
CC:   AUSA Karen Koniuszy, Esq.

Encls.




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